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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION



UNITED STATES OF AMERICA,                  :

               Plaintiff,                  :
                                                      Case No. 3:07cr034(7)
               vs.                         :
                                               JUDGE WALTER HERBERT RICE
TERRY KENDRICK,                            :

               Defendant.                  :




         DECISION AND ENTRY OVERRULING DEFENDANT’S MOTION TO
         SUPPRESS EVIDENCE (DOC. #121)



         This prosecution stems from a lengthy investigation into dog fighting,

utilizing Pit Bull Terriers (“Pit Bulls”). Among other charges, Defendant Terry

Kendrick (“Defendant” or “Kendrick”) is charged in Count 32 of the Indictment

(Doc. #43) with the offense of being a convicted felon in possession of a firearm,

in violation 18 U.S.C. § 922(g).1 In particular, the Indictment alleges that Kendrick

possessed a .44 caliber Taurus pistol (“Taurus pistol”), Model Number 2445129,

Serial Number RF656423, on or about March 24, 2007. See Doc. #43 at 21.

That pistol was seized when law enforcement officers executed a search warrant

at the Defendant’s residence at 5912 Lantanna Avenue, Cincinnati, Ohio. That


1
 The 30-page Indictment (Doc. #43) sets forth 47 separate Counts against nine
Defendants.
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search warrant had been issued by Magistrate Judge Michael Merz the previous

day. The Defendant has filed a motion, arguing that this Court must suppress that

firearm, because its seizure violated the particularity requirement of the Fourth

Amendment, the affidavit executed in support of that warrant did not establish

probable cause to seize that firearm and its seizure was not lawful under the plain

view exception to the warrant requirement. See Doc. #121. On September 7,

2007, this Court conducted an oral and evidentiary hearing on that motion. In

accordance with the briefing schedule established by the Court, the parties have

filed their post-hearing memoranda. See Docs. ##136, 138 and 142.2 The Court

now rules upon the Defendant’s motion, beginning its analysis by reviewing what

the evidence established at that hearing.

         On March 23, 2007, Task Force Officer William Myers (“Myers”), a

detective employed by the Dayton Police Department and assigned to the Ohio

Organized Crime Investigations Commission (“OOCIC”), executed 70-page

affidavit,3 with which he was able to obtain a warrant, authorizing officers to

search Kendrick’s residence at 5912 Lantanna Avenue.4 Therein, Myers recounted

what he had been told by Agents Mike Gabrielson (“Gabrielson”) and Mark

Barnhart (“Barnhart”) of the OOCIC, both of whom acted in an undercover capacity




2
 The Court afforded the parties the opportunity of filing reply memoranda, as well
as their initial briefs. The Government has not filed such a memorandum.
3
 That affidavit was Government Exhibit 1A, during the oral and evidentiary hearing
conducted on September 7, 2007.
4
 With that affidavit, Myers was also able to obtain search warrants for seven other
locations and five vehicles, as well as arrest warrants for Kendrick and eight other
individuals.

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throughout the investigation that led to this prosecution.5 On March 17, 2006,

Gabrielson, two of Kendrick’s Co-Defendants, Cornelius Burnett (“Burnett”) and

Larontay Bennett (“Bennett”), and a third individual, Barry Lynch (“Lynch”),

traveled to Cincinnati, to meet Kendrick so that Lynch could pay forfeit money for

a dog fight that was then scheduled to occur in May, 2006. They went to

Kendrick’s residence at 5912 Lantanna Avenue, where Gabrielson was introduced

to the Defendant. Those present engaged in a general discussion of dog fighting

and also talked about the dog fight which Kendrick was arranging, scheduled to

take place the following May 20th.6 In addition, Gabrielson observed Lynch and

Burnett pay forfeit fees to Kendrick. Kendrick also showed Gabrielson a trophy

which one of his (Kendrick’s) dogs had won at a match recently conducted in

Detroit. Gabrielson attended the May 20, 2006, dog fight, which was hosted and

supervised by Kendrick.

         On June 19, 2006, Gabrielson and Burnett went to Kendrick’s residence at

5912 Lantanna Avenue, in Cincinnati. Burnett purchased three bottles of

Dexamethasone from Kendrick.7 Kendrick also gave Burnett a trophy that he had

won during the May 20th dog fight.

         On December 13, 2006, Gabrielson went to Kendrick’s residence at 5912

Lantanna Avenue. After arriving there, Gabrielson and Kendrick discussed dog


5
 The Court focuses its discussion of Myers’ affidavit on its portions pertaining to
Kendrick and his residence.
6
 Kendrick also showed Gabrielson three issues of “Dogman Revista,” an
underground magazine devoted to dog fighting, and agreed to sponsor a
subscription to the magazine in exchange for $50.00, which Gabrielson paid.
7
 Dexamethasone is an anti-inflammatory steroid which is given to Pit Bulls to speed
up the healing of the wounds and other injuries received in dog fights.

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fighting, during which the latter indicated that he had been at a dog fight in Detroit

the previous weekend. Kendrick also asked the undercover agent whether he dealt

in marijuana. When Gabrielson responded affirmatively, Kendrick offered to sell

him that controlled substance for $110.00 per ounce. As a sample of his product,

Kendrick gave Gabrielson a bag containing a small amount of the substance, which

proved to be 4.60 grams of marijuana.

         On December 20, 2006, Gabrielson spoke by telephone with Kendrick,

asking the latter whether he could supply a half-pound of marijuana. After the

Defendant had indicated that he could, Gabrielson drove to his residence at 5912

Lantanna Avenue. Kendrick told Gabrielson that one of his dogs had won a

contract dog fight against Burnett’s dog, “Peanut,” which had been killed during

the fight. Following that conversation, Gabrielson followed Kendrick into the dining

room of that residence, where the latter retrieved a digital scale and, then, a large

bag of green leafy material.8 Using the digital scales, Kendrick weighed one-half of

a pound of that material and placed it in a baggie, which he gave to Gabrielson in

exchange for $600.00. Upon his return to Dayton, Gabrielson gave the baggie to

the Miami Valley Regional Crime Lab for forensic testing. The result of the testing

indicated that the baggie contained 246.52 grams of marijuana.9

         On January 23, 2007, Gabrielson and Kendrick spoke by telephone.

Defendant told the undercover agent that he had marijuana to sell, as a result of

which Gabrielson and Barnhart met the Defendant at his residence on Lantanna


8
 That material was partially compacted, as though it had previously been pressed
into brick form.
9
 246.52 grams equals approximately 8.7 ounces, slightly more than one-half
pound.

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Avenue in Cincinnati on that date. The undercover officers followed Kendrick into

the dining room of that residence, where Kendrick obtained a gallon-sized baggie

from a duffle bag on the floor. The baggie was filled with a green leafy material.

Using a digital scale, Kendrick weighed out one-half pound of that material, which

he put in a smaller baggie and sold to Gabrielson for $600.00.10 While they were

in the dining room, Kendrick indicated that he could supply bootleg copies of

movies which were then being shown in theaters. After showing Barnhart the

bootleg movies, Barnhart purchased four such for $20.00 each. Kendrick also took

the undercover agents to his basement, where they observed 16 Pit Bulls.

Fourteen of those dogs were in cages, while the other two were chained to

poles.11 In addition, the officers saw another Pit Bull chained to a register in the

dining room. Kendrick explained that this dog had retired from fighting. During

that meeting, Kendrick also told the officers that he possessed a .44 caliber Taurus

handgun, which he kept in his residence.

      On February 21, 2007, Gabrielson and Barnhart arranged to meet Kendrick

at his residence at 5912 Lantanna Avenue. The officers arrived there before

Kendrick. When he got there, the officers saw him remove a cardboard box from

the vehicle in which he had been driven to his residence. A number of bootleg

DVDs were inside that box. The three entered Kendrick’s residence, and he told

the officers that he could get a bootleg DVD on Monday of any movie released on

the previous Friday. After examining the DVDs in the cardboard box, Barnhart paid


10
  The green leafy material was tested by the Miami Valley Crime Lab, which
revealed that it was 233.63 grams or approximately 8.2 ounces of marijuana.
11
  In the basement, the officers also saw two slat treadmills, which were being used
to train the Pit Bulls to fight.

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$300.00 to purchase 98 of them. Several of the DVDs purchased by Barnhart

were of first run movies, then playing in theaters nationwide.

      On March 15, 2007, Gabrielson contacted Kendrick by telephone, in order to

ask about the possibility of purchasing counterfeit DVDs. Kendrick said that he

had such items for sale and invited Gabrielson to come to his residence. After

arriving at 5912 Lantanna Avenue, Gabrielson saw Kendrick get out of an

automobile being driven by his girlfriend. He removed two black plastic bags from

the rear seat of that vehicle and carried them into that residence. At the

Defendant’s invitation, Gabrielson followed him inside. Once inside, Kendrick

removed two DVDs from one of the bags and handed the bags to Gabrielson, while

retaining the two DVDs. The bags contained 100 counterfeit DVDs of movies,

some of which were of recent releases. The undercover officer paid Kendrick

$300.00 for the DVDs. The Defendant also told Gabrielson that he had recently

obtained some high quality marijuana, which may have originated in Mexico, that

he was selling for $1,400.00 per pound. Although he did not buy any marijuana

on March 15th, Gabrielson indicated that he might be interested in purchasing

some in the future.

      The search warrant issued by Judge Merz authorized officers to search the

Defendant’s residence at 5912 Lantanna Avenue for the evidence set forth on

Attachment B. Attachment B lists all manner of evidence relating to dog fighting,

including Pit Bulls, as well as evidence relating to the distribution of controlled

substances and relating to counterfeit movies. In addition, ¶ 13 of Attachment B

authorized the seizure of “[a]ll firearms used to protect the interest of persons




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involved in dog fighting, including hand guns (sic), shotguns, rifles and

ammunition.” Government Ex. 2 at Attachment B, p. 2.

         During the oral and evidentiary hearing conducted on September 7, 2007,

evidence was introduced concerning the execution of the search warrant at 5912

Lantanna Avenue. Myers served as the officer in charge of the execution of a

number of search warrants in Cincinnati. Before any of those warrants were

executed, he conducted a meeting with the law enforcement officials who would

actually serve the warrants. During that meeting, Myers told the officers, inter

alia, that Kendrick had previously been convicted of a number of felonies. In

addition to being the overall supervisor of the execution of the Cincinnati search

warrants, Myers was the supervising officer on the scene of the execution of the

search warrant at Defendant’s residence at 5912 Lantanna Avenue. After that

residence had been secured by officers of the SWAT Team from the Cincinnati

Police Department, and the Pit Bulls had been removed therefrom by officials of the

Humane Society, officers moved in to conduct the search of the Defendant’s

residence. Myers assigned the task of searching the master bedroom located on

the first floor to Detectives Rodney Barrett (“Barrett”) and Douglas Hall (“Hall”) of

the Dayton Police Department. In the course of complying with that directive,

Barrett saw a small security lockbox under the bed.12 After the mattress had been

moved, Barrett retrieved the box and, upon opening it, discovered the Taurus

pistol, upon which the prosecution of Kendrick for Count 32 of the Indictment is

based. Barrett knew immediately that the firearm constituted evidence of criminal

activity by Kendrick, because he knew that the Defendant had previously been


12
     Although that box was secured by a clasp, it was not locked.

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convicted of felonies and that it was a crime for a convicted felon to possess a

firearm.



      As indicated, the Defendant argues that ¶ 13 of Attachment B, which

provides for the seizure of “[a]ll firearms used to protect the interest of persons

involved in dog fighting, including hand guns (sic), shotguns, rifles and

ammunition,” violated the particularity requirement of the Fourth Amendment. In

addition, Kendrick argues that Myers’ affidavit failed to establish probable cause to

support the seizure of the Taurus pistol. He also contends that the plain view

exception to the warrant requirement does not prevent this Court from suppressing

that firearm. For reasons which follow, this Court rejects each of the Defendant’s

arguments. As a means of analysis, this Court will address the Defendant’s three

arguments in the above order.

      The Fourth Amendment provides in part that “no Warrants shall issue, but

upon probable cause, supported by Oath or affirmation, and particularly describing

the place to be searched, and the persons or things to be seized.” (emphasis

added). Kendrick contends that the description of the firearms to be seized

violated the particularity requirement of the Fourth Amendment, because the .44

caliber Taurus pistol was not identified in the search warrant as one of the items to

be seized.13 This Court cannot agree. In United States v. Greene, 250 F.3d 471


13
  The decision upon which Defendant places primary reliance in support of this
argument is United States v. Sharkey, 2004 U.S. App. Lexis 24215 (6th Cir. 2004).
Therein, the defendant argued, inter alia, that the seizure from a gun safe of
firearm magazines, ammunition and papers relating to firearms violated the
particularity requirement, because the warrant only authorized the seizure of guns,
firearms, rifles and pistols. Although the Sixth Circuit outlined the principles
applicable to the determination of whether that requirement has been violated, the

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(6th Cir. 2001), the Sixth Circuit addressed and rejected a similar argument.

Therein, the search warrant authorized the seizure of four firearms, which were

specifically identified by make, model and caliber. However, the search warrant

also included a catch-all provision which authorized officers to seize any firearms

used in connection with illegal narcotics trafficking. A number of firearms were

seized in addition to those that were specifically identified. The defendant argued

that the seizure of those firearms violated the particularity requirement. The Sixth

Circuit rejected that argument, noting that the “[u]se of a generic term or generic

description is not a per se violation of the Fourth Amendment” and that “the

degree of specificity required is flexible and will vary depending on the crime

involved and the types of items sought.” Id. at 477 (internal quotation marks and

citations omitted). Applying those principles herein, this Court cannot conclude

that the particularity requirement was violated, because the search warrant

authorized the seizure of “[a]ll firearms used to protect the interest of persons

involved in dog fighting, including hand guns (sic), shotguns, rifles and

ammunition,” rather than the .44 caliber Taurus pistol which Defendant had told

Gabrielson and Barnhart he kept at his residence.

      As indicated, Kendrick also argues that Myers’ affidavit failed to establish

probable cause to seize the Taurus pistol. Defendant does not contend that the

affidavit failed to establish probable cause to believe that the handgun would be




Sharkey court did not resolve that question therein. Rather, the court determined
that the magazines, firearms and papers were lawfully seized in accordance with
the plain view exception to the warrant requirement.

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found in his residence;14 rather he contends that the affidavit failed to establish

probable cause to believe that the handgun was contraband or evidence of a crime.

As Defendant points out, possession of a firearm is not, in and of itself, a crime.

Moreover, Myers did not state in his affidavit that Kendrick had previously been

convicted of a felony.15 Nevertheless, this Court concludes that Myers’ affidavit

established probable cause to believe that the Taurus pistol constituted evidence of

a crime. The Court begins its analysis by reviewing the standards it must apply

whenever a party argues that an affidavit failed to establish probable cause for a

search warrant.

      In United States v. Smith, 182 F.3d 473 (6th Cir. 1999), the Sixth Circuit

restated certain fundamental principles that a court must apply when a defendant

argues that evidence, seized upon the execution of a search warrant, must be

suppressed, because the supporting affidavit did not establish the existence of

probable cause:

      The Fourth Amendment, which states that "no Warrants shall issue, but
      upon probable cause, supported by Oath or affirmation," U.S. CONST.
      amend. IV, requires that probable cause be determined "by a neutral and
      detached magistrate instead of being judged by the officer engaged in the
      often competitive enterprise of ferreting out federal crime." Johnson v.
      United States, 333 U.S. 10, 14 (1948). In order for a magistrate to be able
      to perform his official function, the affidavit must contain adequate
      supporting facts about the underlying circumstances to show that probable
      cause exists for the issuance of the warrant. Whiteley v. Warden, 401 U.S.
      560, 564 (1971). Probable cause is defined as “reasonable grounds for
      belief, supported by less than prima facie proof but more than mere


14
 Such an argument would have been unavailing, given that Myers’ affidavit
establishes that the Defendant had told Gabrielson and Barnhart that he kept the
Taurus pistol in his residence.
15
  Myers did indicate in his affidavit that four of Kendrick’s Co-Defendants had such
records.

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       suspicion.” United States v. Bennett, 905 F.2d 931, 934 (6th Cir. 1990). It
       requires “only a probability or substantial chance of criminal activity, not an
       actual showing of such activity.” Illinois v. Gates, 462 U.S. 213, 244 n. 13
       (1983). A warrant must be upheld as long as the magistrate had a
       “substantial basis for ... conclud[ing] that a search would uncover evidence
       of wrongdoing....” Id. at 236. See also United States v. Finch, 998 F.2d
       349, 352 (6th Cir. 1993).

Id. at 476-77. In Illinois v. Gates, 462 U.S. 213, 230 (1983), the Supreme Court

stressed that the existence of probable cause must be determined from the totality

of the circumstances. In Gates, the Supreme Court noted that “[t]he task of the

issuing magistrate is simply to make a practical, common-sense decision whether,

given all the circumstances set forth in the affidavit before him, including the

'veracity' and 'basis of knowledge' of persons supplying hearsay information, there

is a fair probability that contraband or evidence of a crime will be found in a

particular place.” Id. at 238. When determining whether the affidavits established

the existence of probable cause to believe that contraband or evidence of criminal

activity would be found at the places to be searched, this Court must examine the

totality of those circumstances in a "realistic and commonsense fashion." United

States v. Van Shutters, 163 F.3d 331, 336 (6th Cir. 1998), cert. denied, 526 U.S.

1077 (1999). Of course, this Court also must afford great deference to the

determination of probable cause made by Judge Merz who issued the search

warrants. United States v. Allen, 211 F.3d 970 (6th Cir.) (en banc), cert. denied,

531 U.S. 907 (2000); United States v. Akram, 165 F.3d 452, 456 (6th Cir. 1999).

See also, United States v. Graham, 275 F.3d 490, 501 (6th Cir. 2001) (indicating

that a magistrate’s finding of probable cause will not be set aside, unless it was

arbitrary).




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      Herein, this Court concludes that Myers’ affidavit established probable cause

to believe that the Taurus pistol was evidence of a crime. That affidavit sets forth

numerous instances in which the Defendant sold large quantities of marijuana to

Gabrielson. It is axiomatic that the possession of a firearm constitutes evidence of

involvement in drug trafficking. United States v. Ware, 161 F.3d 414, 417-18 (6th

Cir. 1998), cert. denied, 526 U.S. 1045 (1999). Therefore, the Taurus pistol

constitutes evidence of the Defendant’s drug trafficking. Moreover, given that a

firearm used in such drug trafficking (as well as evidence relating to the distribution

of controlled substances and counterfeit movies) could have been located in the

lock box, the officers possessed probable cause to search that location for such a

weapon and/or evidence.

      However, even if it had concluded that the seizure of the pistol Taurus

violated the particularity requirement of the Fourth Amendment or that Meyers’

affidavit failed to establish probable cause to support the seizure of that weapon,

this Court nevertheless concludes that the handgun was lawfully seized in

accordance with the plain view exception to the warrant requirement and that,

therefore, that pistol cannot be suppressed.

       In United States v. Garcia, 496 F.3d 495 (6th Cir. 2007), the Sixth Circuit

reviewed the standards which must be applied to determine whether the seizure of

evidence was lawful under the plain view doctrine:

              The law recognizes the plain view doctrine as an exception to the
      warrant requirement. See Horton [v. California, 496 U.S. 128, 134 (1990)].
      “It is well established that under certain circumstances the police may seize
      evidence in plain view without a warrant.” Coolidge v. New Hampshire, 403
      U.S. 443, 465 (1971). Four factors must be satisfied in order for the plain
      view doctrine to apply: (1) the object must be in plain view; (2) the officer
      must be legally present in the place from which the object can be plainly


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      seen; (3) the object's incriminating nature must be immediately apparent;
      and (4) the officer must have a right of access to the object. Horton, 496
      U.S. at 136-37; [United States v.] McLevain, 310 F.3d [434, 438-39 (6th
      Cir. 2002)].

Id. at 508. In United States v. Herndon, 501 F.3d 683 (6th Cir. 2007), the court

explained:

            Under the plain view doctrine, “if police are lawfully in a position from
      which they view an object, if its incriminating character is immediately
      apparent, and if the officers have a lawful right of access to the object, they
      may seize it without a warrant.” Minnesota v. Dickerson, 508 U.S. 366,
      375 (1993). The government has the burden of proving the legality of a
      warrantless search. United States v. Haynes, 301 F.3d 669, 677 (6th Cir.
      2002).

Id. at 692. Of course, in the absence of an exception to the warrant requirement,

a warrant is required to permit law enforcement officers to seize an item. Garcia,

496 F.3d at 508.

      Herein, applying the four factors set forth in Garcia, this Court concludes

that the Government has met its burden in demonstrating that the Taurus pistol

was lawfully seized in accordance with the plain view doctrine. First, that firearm

was in plain view, after Barrett opened the lock box. Second, the officers were

lawfully in the master bedroom in Defendant’s residence when Barrett discovered

that box, given that they were serving a lawfully issued search warrant at the

Defendant’s residence. It bears emphasis that the Defendant has not challenged

the validity of that search warrant, generally; rather, he merely argues that the

warrant was not valid as it relates to the Taurus pistol. Third, given that Barrett,

the officer who discovered the Taurus pistol, knew that the Defendant had

previously been convicted of felonies and that it was illegal for a convicted felon to

possess a firearm, the incriminating nature of that handgun was immediately


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apparent. Fourth, officers had a lawful right of access to the Taurus pistol in the

lock box, since other items the officers were authorized to search for, such as

counterfeit DVDs or documentary evidence dog fighting could have been inside

that container.

      The Defendant argues that the plain view doctrine is inapplicable, because

officers did not inadvertently discover the Taurus pistol. See Doc. #138 at 5-6.

According to the Defendant, the plain view doctrine is applicable only when the

discovery of the item seized was inadvertent. This Court cannot agree, because an

inadvertent discovery of such an item is not a necessary condition for the

application of the plain view exception to the warrant requirement. Horton v.

California, 496 U.S. 128, 136-37 (1990); United States v. Weatherspoon, 82 F.3d

697, 699 (6th Cir. 1996).

      Accordingly, this Court overrules the Defendant’s Motion to Suppress

Evidence (Doc. #121).



November 14, 2007


                                            /s/ Walter Herbert Rice
                                             WALTER HERBERT RICE, JUDGE
                                            UNITED STATES DISTRICT COURT

Copies to:

Counsel of Record.




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